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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


AURACLE HOMES, LLC; FD                      :       CIVIL ACTION NO. 3:20-CV-829(VAB)
MANAGEMENT, LLC; BUCKLEY                    :
FARMS, LLC; ORANGE CAPITOL, LLC;            :
216 EAST MAIN STREEET MERIDEN,              :
LLC; BD PROPERTY HOLDINGS, LLC;             :
PRIME MANAGEMENT, LLC; AND                  :
HABERFELD ENTERPRISE, LLC,                  :
  Plaintiffs,                               :
                                            :
      v.                                    :
                                            :
NED LAMONT                                  :
 Defendant                                  :       JUNE 24, 2020


                                        APPEARANCE

       TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

       Please enter my appearance as counsel for the Defendant in his individual capacity in the

above-captioned case.

       Dated at Hartford, Connecticut, this 24th day of June, 2020.

                                                    DEFENDANT

                                                    NED LAMONT

                                                    WILLIAM TONG
                                                    ATTORNEY GENERAL

                                            BY:     /s/ Philip Miller_____
                                                    Philip Miller
                                                    Assistant Attorney General
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                                        CERTIFICATION


       I hereby certify that on June 24th, 2020, a copy of the foregoing appearance was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.




                                                       /s/ Philip Miller __
                                                       Phil Miller
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